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                      UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT GEORGIA
                           WAYCROSS DIVISION

                                  :
GILBERTO GONZALEZ GONZALEZ,       :
GIEZI GONZALEZ GONZALEZ, HECTOR   :
APARICIO MAYO, DAMIAN BAAS        :
MARQUEZ, DIEGO CAMPECHANO         :
CHAPOL, MARCELINO CIRIACO CAMPOS, :
DOMINGO CARRILLO HERNANDEZ,       : Civil Action No. 5:17-cv-00149-LGW-RSB
BENJAMIN DELGADO URBANO, FORTINO :
DOMINGUEZ CORTAZAR, PEDRO         :
GARCIA GOLPE, DONACIANO GOMEZ     :
GAPI, GERARDO GONZALEZ GONZALEZ, :
FELIX HERRERA CARVALLO,           :
GUADALUPE HERRERA CARVALLO,       :
PERFECTO HERRERA MARTINEZ, HUGO   :
IGNOT OTAPA, JOSE IXTEPAN TEMICH, :
MARCO KU BAAS, ADAN LANDA REYES, :
MOISES LANDA REYES, NARCISO LANDA :
SANCHEZ, EMANUEL DEL JESUS LOPEZ  :
VELASCO, LUIS MOLINA MARTINEZ,    :
LUIS MOLINA PRIETO, SILVESTRE     :
MORALES DOMINGUEZ, BALTAZAR       :
MORALES NARVAEZ, LORENZO          :
NARVAEZ NARVAEZ, ISAIAS ORTIZ     :
CASTELAN, NICOLAS POLITO CHIGO,   :
OBED RAMIREZ GONZALEZ, JORGE      :
SALAZAR MORALES, EDGAR VELA       :
HERNANDEZ, and ULISES VELAZQUEZ   :
RAMIREZ,                          :
                                  :
               Plaintiffs,        :
                                  :
vs.                               :
                                  :
SHILOH BERRY FARM, INC. and       :
WESLEY SHANE WADE,                :
                                  :
               Defendants.        :
                                  :
                                  :
                                  :
                                  :
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                                  FIRST AMENDED COMPLAINT

                             I.      PRELIMINARY STATEMENT

    1.      Plaintiffs are agricultural guest workers from Mexico who were recruited by

Defendants to work for Shiloh Berry Farm, Inc., in 2017. Plaintiffs bring this action to vindicate

their rights under the Fair Labor Standards Act (“FLSA”), 29 U.S.C. § 201, et seq., and under

Georgia contract law. Plaintiffs assert that Defendants failed to pay them for all reimbursable

expenses and hours of compensable work time, and terminated them in retaliation for the

assertion of protected rights, in violation of both the FLSA and Plaintiffs’ employment contracts

with Defendants. Plaintiffs seek their unpaid and lost wages, statutory liquidated damages,

unreimbursed expenses, compensatory damages, damages that arose from Defendants’ breaches

of contract, pre- and post-judgment interest, declaratory relief, costs, and reasonable attorneys’

fees.

                             II.     JURISDICTION AND VENUE

    2.      This Court has jurisdiction of this action pursuant to:

            (a)    28 U.S.C. § 1331 (Federal Question);

            (b)    29 U.S.C. § 1337 (Interstate Commerce);

            (c)    29 U.S.C. § 216(b) (FLSA); and

            (d)    28 U.S.C. § 1367 (Supplemental).

    3.      This Court has supplemental jurisdiction over the state law claims because they are so

related to Plaintiffs’ federal FLSA claims that they form part of the same case or controversy

under Article III, Section II of the U.S. Constitution.




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    4.      This Court has the power to grant declaratory relief pursuant to 28 U.S.C. §§ 2201

and 2202.

    5.      Venue is proper in this district and division pursuant to 28 U.S.C. § 1391(b)-(d), and

S.D. Ga. Local Rule 2.1, because all Defendants reside in this district and division.

                                            III.     PARTIES

    6.      At all times relevant to this complaint, Plaintiffs1 were citizens of Mexico who were

admitted into the United States on a temporary basis, to work for Defendants under the auspices

of the H-2A program, 8 U.S.C. § 1188 and 20 C.F.R. § 655.0, et seq. Their FLSA consent forms

are attached as part of composite Exhibit A.

    7.      Defendant Shiloh Berry Farm, Inc., (hereinafter, “Shiloh Berry”) is a Georgia

Corporation, with farming operations in Bacon County, Georgia.

    8.      Defendant Wesley Shane Wade (hereinafter, “Wade”) is a resident of Bacon County,

Georgia, and is the Chief Executive Officer of Shiloh Berry Farm, Inc.

    9.      At all times relevant to this action, all Defendants were employers of Plaintiffs, under

the FLSA, 29 U.S.C. § 203(g), in that they suffered or permitted Plaintiffs to work.

    10.     Defendant Wade was an employer of Plaintiffs, as defined by the FLSA.

    11.     Plaintiffs were economically dependent on Defendant Wade for their wages.

    12.     Defendant Wade was a day-to-day manager of, and had operational control over,

Defendant Shiloh Berry Farm, Inc.
1
 Gilberto Gonzalez Gonzalez, Giezi Gonzalez Gonzalez, Hector Aparicio Mayo, Damian Baas Marquez, Diego
Campechano Chapol, Marcelino Ciriaco Campos, Domingo Carrillo Hernandez, Benjamin Delgado Urbano, Fortino
Dominguez Cortazar, Pedro Garcia Golpe, Donaciano Gomez Gapi, Gerardo Gonzalez Gonzalez, Felix Herrera
Carvallo, Guadalupe Herrera Carvallo, Perfecto Herrera Martinez, Hugo Ignot Otapa, Jose Ixtepan Temich, Marco
Ku Baas, Adan Landa Reyes, Moises Landa Reyes, Narciso Landa Sanchez, Emanuel del Jesus Lopez Velasco, Luis
Molina Martinez, Luis Molina Prieto, Silvestre Morales Dominguez, Baltazar Morales Narvaez, Lorenzo Narvaez
Narvaez, Isaias Ortiz Castelan, Nicolas Polito Chigo, Obed Ramirez Gonzalez, Jorge Salazar Morales, Edgar Vela
Hernandez, and Ulises Velazquez Ramirez.
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   13.     Defendant Wade had the power to hire and fire Plaintiffs and control their conditions

of employment.

   14.     Defendant Shiloh Berry was an employer of Plaintiffs, as defined by the FLSA.

   15.     Plaintiffs were economically dependent on Defendant Shiloh Berry for their work.

   16.     At all times relevant to this action, Defendants were also employers of Plaintiffs as

defined by the parties’ employment contract. 20 C.F.R. § 655.103(b).

   17.     Defendant Shiloh Berry had a place of business in the U.S. and a means by which it

could be contacted for employment, had the ability to supervise and control the work of

Plaintiffs, and had a valid Federal Employer Identification Number.

   18.     Defendant Wade had the right to control the manner and means by which the

Plaintiffs’ work was accomplished, including the power to hire and fire Plaintiffs and control

their conditions of employment.

   19.     Under the employment of Defendants, Plaintiffs were engaged in interstate commerce

or were employed in an enterprise engaged in commerce or in the production of goods for

commerce, in that they were engaged in the harvesting and production of fruits for sale in

interstate commerce.

 IV.     STATUTORY AND REGULATORY STRUCTURE OF THE H-2A PROGRAM

   20.     An agricultural employer in the United States may bring temporary foreign workers

(“H-2A workers”) to the United States if the United States Department of Labor (“USDOL”)

certifies that (1) there are not enough U.S. workers to perform the job, and (2) the employment of

H-2A workers will not adversely affect the wages and working conditions of U.S. workers who

are similarly employed. 8 U.S.C. §§ 1101(a)(15)(H)(ii)(a) and 1188(a)(1). These provisions,


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along with the implementing federal regulations, are commonly referred to as the “H-2A

program.”

   21.      Under the H-2A program, employers must file a temporary labor certification

application with the USDOL’s Employment and Training Administration. 20 C.F.R. § 655.130.

The application must include a job offer, known as a “job order,” which is used in the

recruitment of both United States and H-2A workers.

   22.      If an employer’s job order meets the minimum federal regulatory requirements and is

otherwise valid, U.S. worker availability is tested by use of the interstate employment service

system and by the employer’s own hiring efforts. If it is determined that sufficient U.S. workers

are not available to fill the jobs, the USDOL certifies the need for temporary foreign workers,

and the Department of Homeland Security issues H-2A visas for the number of job opportunities

requested by the employer and not filled by U.S. workers.

   23.      The job order must comply with the applicable H-2A regulations that establish the

minimum benefits, wages, and working conditions which must be offered in order to avoid

adversely affecting similarly-employed U.S. workers. 20 C.F.R. § 655.121(a)(3).

   24.      Among the requirements of the H-2A regulations are the following:

         (a) Employers must pay the highest of the “adverse effect wage rate” (“AEWR”) or the

            federal or state minimum wage. 20 C.F.R. § 655.122(l). The AEWR is an average

            annual wage for domestic agricultural workers as established each year by the

            USDOL and published in the Federal Register.

         (b) Employers must pay full reimbursement of workers’ incoming transportation costs at

            the 50 percent point of the contract, and provide or pay for return transportation “to


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            the place from which the worker . . . came to work for the employer” at the end of the

            contract. 20 C.F.R. § 655.122(h).

         (c) Employers must assure that they will not retaliate against any worker who has

            exercised a right under the H-2A regulations or consulted with legal services on

            matters related to the H-2A regulations. 20 C.F.R. § 655.135(h).

         (d) Employers must guarantee employment for a total number of work hours equal to at

            least three-fourths of the workdays of the total work period advertised in the Job

            Order, or the monetary equivalent if the hours are not offered. 20 C.F.R. § 655.122(i)

            (known as the “3/4 guarantee”).

         (e) Employers must provide housing to the workers, free of charge, and the housing must

            meet federal standards. 20 C.F.R. § 655.122(d).

   25.      The employment contract consists of, at a minimum, the terms of the job order and

any obligations required under the H-2A program. See 20 C.F.R. § 655.103(b) (definition of

“work contract.”).

                                    V. STATEMENT OF FACTS

                                        Employment Contract

   26.      On or around December 2016, Defendant Shiloh Berry filed job order GA 965286154

(hereinafter, “the Job Order”) with the Georgia Department of Labor (GDOL) and an

Application for Temporary Employment Certification, (hereinafter, “the Application for

Certification”), with the USDOL.




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   27.      The Job Order was approved for 148 temporary positions working in blueberries at

various worksites in Alma, Georgia, with work to begin on March 15, 2017 and continue until

June 15, 2017. See Exhibit B.

   28.      On behalf of Defendants, Plaintiffs were recruited in Mexico to work for Defendants.

   29.       In Mexico, Defendants’ agents, including recruiter Miguel Patricio, promised

Plaintiffs that they would be paid $10.62 per hour.

   30.      Mr. Patricio gave Plaintiffs a copy of the “Agricultural Contract Agreement,” and 2

pages of the Job Order. See Exhibit C. These documents promised various terms of employment.

Only portions of the contents of these documents were translated into Spanish.

   31.      Plaintiffs speak and read in Spanish and have limited English language skills.

   32.      Based on the job offer and the Spanish content of the contract provided by

Defendants, Plaintiffs reasonably believed that they would receive wages of $10.62 per hour.

   33.      The applicable adverse effect wage rate (“AEWR”) for 2017 was $10.62 per hour, see

81 Fed. Reg. 94422 (Dec. 23, 2016).

   34.      The terms and conditions of the Agricultural Contract Agreement and the Job Order,

together with the requirements of 20 C.F.R. § 655, constituted an offer of employment.

   35.      This job offer, when accepted, created an employment contract between Defendants

and each Plaintiff who accepted the offer.

   36.      Plaintiffs accepted the offers of employment under the terms of employment contract.

   37.      The employment contract included, but was not limited to, the following terms:

         (a) Workers would work an average of 42 hours a week.




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         (b) Defendants would provide free housing and kitchen facilities that met state and

            federal requirements.

         (c) Defendants would not retaliate against any worker who asserted rights under the

            H-2A regulations or contract, or who consulted with an attorney from a legal

            assistance program.

         (d) Defendants would guarantee employment for a total number of work hours equal to at

            least three-fourths of the workdays of the total work period advertised in the Job

            Order, or the monetary equivalent if the hours were not offered.

   38.      The employment contract at issue here incorporates a regulatory definition of

employer found at 20 C.F.R. § 655.103(b).

   39.      Defendants failed to give Plaintiffs a complete copy of the employment contract as

required by 20 C.F.R. § 655.122(q).

   40.      Defendants failed to fully translate the employment contract into “a language

understood by the worker[s],” as required by 20 C.F.R. § 655.122(q).

                                    Travel and Immigration Expenses

   41.      Plaintiffs incurred various immigration, processing, and travel-related expenses in

order to come to work for Defendants.

   42.      In order to comply with Defendants’ hiring processes, Plaintiffs traveled, at their own

expense, from their homes to the U.S. Consulate in Monterrey, Mexico for the interview

necessary to obtain an H-2A visa.




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   43.     Plaintiffs incurred expenses for lodging while they completed visa application forms,

attended consular interviews, and waited for the visa applications to be processed and for the

visas to be issued.

   44.     Plaintiffs incurred expenses for transportation from their lodging in Monterrey to the

consulate to attend interviews.

   45.     At the U.S. border near Hidalgo, Texas, each Plaintiff paid a $6.00 fee to the U.S.

Customs and Border Protection for the issuance of Form I-94, which is required to enter the U.S.

   46.     Plaintiffs entered the U.S. on or around April 10, 2017.

   47.     On or around April 12, 2017, Plaintiffs arrived in Alma, Georgia in the early

morning, and began their first day of work harvesting blueberries for Defendants that same

morning.

   48.     The expenses described in paragraphs 41-45 were costs necessary to enter the U.S. as

an H-2A worker and were incurred for the benefit of Defendants, as defined by 29 C.F.R. §§

531.32(c) and 778.217.

   49.     The expenses described in paragraphs 41-45 were made before receipt of Plaintiffs’

first paychecks.

   50.     Defendants did not reimburse Plaintiffs for any of the expenses described in

paragraphs 41-45 in the first workweek.

   51.     The employment contract at issue here incorporates a promise to “comply with

applicable Federal and State minimum wage . . . and other employment-related laws” including

the FLSA. See 20 C.F.R. § 655.135(e).




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   52.     In promising to pay the federally-mandated AEWR, Defendants also promised to pay

that wage free and clear without deductions for items for the employers’ benefit or without

reducing employees’ wages by shifting costs to those employees.

   53.     Defendants’ failure to reimburse Plaintiffs for these expenses in the first workweek

brought Plaintiffs’ wages below the federal minimum wage and the AEWR.

                            Complaints about Pay and Working Conditions

   54.     On various occasions, Plaintiffs asserted their right to be paid as required under their

employment contract, the H-2A regulations, and the FLSA.

   55.     On various occasions, Plaintiffs sought compliance with other parts of the

employment contract, and complained when requirements were not satisfied.

   56.     Plaintiffs’ supervisor, Elias Utrera, told Plaintiffs they would be paid 50 cents per

pound of blueberries picked.

   57.     In the first workweek, Plaintiffs worked two days, approximately 6 hours per day.

   58.     Plaintiffs calculated that they would earn approximately $25-30 per day on a piece

rate basis, which would be less than what was offered to them in their work contracts and less

than the FLSA minimum wage, based on the amount of fruit on the bushes and the number of

pounds Plaintiffs picked.

   59.     Plaintiffs complained to Mr. Utrera that they would make very little being paid by the

pound, about $25-30 per day.

   60.     Plaintiffs also complained to Defendant Wade about the rate and method of pay, with

Mr. Utrera translating.




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   61.     Plaintiffs complained to Defendant Wade and Defendants’ agents, including

Mr. Utrera, that they did not receive a complete copy of the employment contract in Spanish.

   62.     Within a few days of making the complaints described in paragraphs 54-55 and 59-

61, Mr. Utrera prevented Plaintiffs from working.

   63.     On or around Monday April 17, 2017, Plaintiffs went to the fields to work.

   64.     When Plaintiffs arrived at the fields, Mr. Utrera prevented most of the Plaintiffs from

working, and required them to wait in the fields until a bus came and transported them to

Defendants’ office.

   65.      Defendants required these Plaintiffs to spend several hours waiting in the office.

   66.     On or around the evening of April 17, 2017, Plaintiffs consulted with employees of

Georgia Legal Services Program.

   67.     Upon information and belief, Mr. Utrera observed Plaintiffs speaking with employees

of Georgia Legal Services Program.

   68.     On or around Tuesday, April 18, 2017, Mr. Utrera prevented all Plaintiffs from

working and required Plaintiffs to go to Defendants’ office.

   69.     On or around Tuesday, April 18, 2017, all Plaintiffs participated in a GDOL

investigation in Defendants’ office.

   70.     During the GDOL investigation, Plaintiffs complained to the GDOL about the

working conditions and employer-provided housing.

   71.     Plaintiffs honestly and reasonably believed the conditions they discussed with GDOL

were violations of their rights under the H-2A regulations and the FLSA.




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   72.     Upon information and belief, on or around April 18, 2017, the GDOL informed

Defendants of Plaintiffs’ complaints described in paragraphs 70-71.

   73.     Shortly after GDOL’s visit with Defendants, on or around the evening of

April 18, 2017, Defendants terminated Plaintiffs.

   74.     After being terminated, Plaintiffs were immediately required to vacate the housing.

   75.     Upon information and belief, workers who did not engage in the activities described

in paragraphs 54-55, 59-61, 66, and 69-71 were not prevented from working, terminated, or

evicted.

                                                Wages

   76.     Defendants terminated Plaintiffs, without cause, before the end of the contract period.

   77.     Defendants offered less than three-fourths of the workdays of the total work period

advertised in the Job Order.

   78.     Defendants did not supplement Plaintiffs’ wages to ensure that they were

compensated for at least three-fourths of the workdays of the total work period advertised in the

Job Order, as required by 20 C.F.R. § 655.122(i).

   79.     In addition, Defendants did not compensate Plaintiffs for the time that they were

required to wait at the fields and in the office on or around April 17 and/or April 18, 2017.

   80.     Defendants therefore did not pay Plaintiffs for all compensable hours worked, as

required by the FLSA, the H-2A regulations, and their employment contracts.

   81.     Although H-2A workers are exempt from Social Security and Medicare Taxes under

26 U.S.C. §§ 3101 and 3121(b)(1), Defendants made deductions from Plaintiffs’ pay for such

taxes.


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   82.       Upon information and belief, Defendants did not remit these taxes to the government.

   83.       Such deductions violated the requirement in the H-2A regulations that all deductions

from H-2A workers’ paychecks be reasonable. See 20 C.F.R. § 655.122(p)(1).

   84.       As a result of Defendants’ unlawful deductions and failure to pay Plaintiffs for all

compensable hours worked as described in paragraphs 79-83, Plaintiffs’ weekly earnings fell

below the contractually-promised wage.

   85.       Defendants’ unlawful deductions and failure to pay Plaintiffs for all compensable

hours worked as described in paragraphs 79-83 further reduced Plaintiffs wages below the

minimum wage of $7.25 per hour required under the FLSA.

   86.       Defendants also did not provide Plaintiffs with complete earning statements

containing the information required by the H-2A regulations, 20 C.F.R. § 655.122(k).

                COUNT I: FAIR LABOR STANDARDS ACT- RETALIATION

   87.       Plaintiffs incorporate each of the allegations contained in the preceding paragraphs by

reference.

   88.       This Count sets forth a claim by all Plaintiffs for actual, compensatory, and liquidated

damages, as well as declaratory relief for Defendants’ violations of the FLSA’s anti-retaliation

provision. See 29 U.S.C. § 215(a)(3).

   89.       The violations set forth in this Count resulted, in part, from Defendants’ retaliation

against Plaintiffs by denying them work, terminating them, and evicting them as described in

paragraphs 62-68 and 73-74.

   90.       Plaintiffs engaged in FLSA protected activity by asserting their rights to be paid the

minimum wage as described in paragraphs 54-60 and 69-71.


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   91.     After engaging in the above protected activities, Plaintiffs suffered adverse action by

Defendants when Defendants denied Plaintiffs the opportunity to work, and terminated and

evicted Plaintiffs, as described in paragraphs 62-68 and 73-74.

   92.     Defendants’ adverse actions against Plaintiffs described in paragraphs 62-68 and 73-

74 were causally connected to Plaintiffs’ protected activities, as Plaintiffs suffered these adverse

actions soon after engaging in the protected activities, Defendants knew that Plaintiffs engaged

in these activities, and Defendants engaged in the adverse actions only with respect to workers

who participated in protected activities, as described in paragraphs 47, 59-60, 62-65, 68, 72-75.

   93.     Defendants’ violations of the FLSA were willful, within the meaning of 29 U.S.C. §

255(a), as demonstrated by the allegations in paragraphs 62-65, 68, and 73-74.

   94.     As a result of Defendants’ violations of the FLSA set forth in this Count, Plaintiffs

seek such legal and equitable relief as may be appropriate to effectuate the purposes of 29 U.S.C.

§ 215(a)(3).

   95.     Each Plaintiff also seeks a declaratory judgment and the amount of his lost wages and

an equal amount of liquidated damages pursuant to 29 U.S.C. § 216(b), as well as compensatory

damages, including damages for mental and emotional distress, pre- and post-judgment interest,

and reasonable attorneys’ fees and litigation expenses pursuant to 29 U.S.C. §216(b).

               COUNT II: FAIR LABOR STANDARDS ACT- MINIMUM WAGE

    96.         Plaintiffs incorporate each of the allegations contained in the preceding

paragraphs by reference.




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   97.       Defendants failed to pay Plaintiffs at least the required federal minimum wage rate of

$7.25 for every compensable hour of labor performed in a workweek, in violation of

29 U.S.C. § 206(a).

   98.       The violations set forth in this Count resulted, in part, from Defendants’ failure to

reimburse expenses as detailed in paragraphs 41-50. These expenses brought Plaintiffs’ first

week earnings below the required minimum hourly wage rate.

   99.       The violations set forth in this Count also resulted, in part, from Defendants’ failure

to credit and pay Plaintiffs for all compensable time worked, as described in paragraphs 79-80

and 85.

   100.      The violations set forth in this Count also resulted, in part, from Defendants’ unlawful

deductions for Social Security and Medicare taxes, which further reduced Plaintiffs’ wages

below minimum wage, as described in paragraphs 81-83 and 85.

   101.      Defendants’ violations of the FLSA were willful, within the meaning of

29 U.S.C. § 255(a), as demonstrated by the allegations in paragraphs 79-86.

   102.      Pursuant to 29 U.S.C. § 216(b), as a result of Defendants’ violations of the FLSA set

forth in this Count, Plaintiffs are entitled to recover the amount of their unpaid wages and an

equal amount as liquidated damages for each workweek in which they earned less than the

applicable minimum wage.

     COUNT III: BREACH OF CONTRACT- ANTI-RETALIATION PROVISIONS

   103.      Plaintiffs incorporate each of the allegations contained in the preceding paragraphs by

reference.




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   104.    This Count sets forth Plaintiffs’ claims for declaratory relief and damages for

Defendants’ breach of the anti-retaliation provisions of their employment contracts.

   105.    Defendants offered employment on the terms and conditions set out in the Job Order

and Agricultural Contract Agreement as described in paragraphs 27-38.

   106.    Plaintiffs accepted Defendants’ offers.

   107.    Among the terms that Defendants offered and Plaintiffs accepted was a promise that

Defendants would not retaliate against any worker who asserted rights under the H-2A

regulations or contract, or who consulted with an employee of a legal assistance program as

required by 20 C.F.R. § 655.135(h).

   108.    Plaintiffs exercised or asserted rights or protections under the H-2A regulations or

contract by, among other things: (1) asserting their rights to be paid in accordance with their

employment contracts; (2) asserting their rights to receive a complete copy of the employment

contract when they applied for their H-2A visa, translated into Spanish; and (3) asserting their

rights to be provided housing that complied with federal standards, as described in paragraphs

54-61 and 69-71, and as required by their employment contract and the H-2A regulations.

   109.    Plaintiffs also consulted with employees of a legal assistance program, as described in

paragraph 66.

   110.    Defendants retaliated against Plaintiffs when Defendants denied Plaintiffs the

opportunity to work, and terminated and evicted Plaintiffs, as described in paragraphs 62-68 and

73-74.

   111.    Defendants’ retaliation of Plaintiffs was causally connected to Plaintiffs’ exercise or

assertion of protected rights under the H-2A regulations or employment contract, and to


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Plaintiffs’ consultation with employees of a legal assistance program, as Plaintiffs suffered these

adverse actions by Defendants soon after engaging in the protected activities, Defendants knew

that Plaintiffs engaged in these activities, and Defendants engaged in the adverse actions only

with respect to workers who participated in the protected activities, as described in paragraphs 47

and 59-77.

    112.      By retaliating against Plaintiffs, Defendants breached their employment contract with

Plaintiffs.

    113.      As a direct consequence of Defendants’ breach of Plaintiffs’ employment contract,

Plaintiffs suffered economic injury.

    114.      Defendants are liable to Plaintiffs for the damages that arose naturally and according

to the usual course of things from Defendants’ breach, as provided by federal common law and

O.C.G.A. § 13-6-2, including unpaid wages and prejudgment interest.

       COUNT IV: BREACH OF CONTRACT- THREE-FOURTHS GUARANTEE

    115.      Plaintiffs incorporate each of the allegations contained in the preceding paragraphs by

reference.

    116.      This Count sets forth Plaintiffs’ claims for declaratory relief and damages for the

Defendants’ breach of the three-fourths guarantee provision of their employment contract.

    117.      Defendants offered employment on the terms and conditions set out in the Job Order

and Agricultural Contract Agreement as described in paragraphs 27-38.

    118.      Plaintiffs accepted Defendants’ offers.

    119.      Among the terms that Defendants offered and Plaintiffs accepted was a promise to

guarantee employment for a total number of work hours equal to at least three-fourths of the


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workdays of the total work period advertised in the Job Order, or the monetary equivalent if the

hours were not offered. 20 C.F.R. § 655.122(i).

      120.   The violations set forth in this Count resulted, in part, from Defendants’ early

termination of Plaintiffs, without cause on or around April 18, 2017, after Plaintiffs had

completed less than one week of the four-month contract, as described in paragraphs 47, 73, and

75-76.

      121.   The violations set forth in this Count resulted, in part, from Defendants’ failure to

supplement Plaintiffs’ wages to ensure that they were compensated for at least three-fourths of

the workdays of the total work period advertised in the Job Order, as described in paragraphs 76-

78.

      122.   Defendants, therefore, breached their employment contract with Plaintiffs.

      123.   As a direct consequence of Defendants’ breach of contract, Plaintiffs suffered

economic injury.

      124.   Defendants are liable to Plaintiffs for the damages that arose naturally and according

to the usual course of things from Defendants’ breach, as provided by federal common law and

O.C.G.A. § 13-6-2, including unpaid wages and prejudgment interest.

                COUNT V: BREACH OF CONTRACT- WAGE PROVISIONS

      125.   Plaintiffs incorporate each of the allegations contained in the preceding paragraphs by

reference.

      126.   This Count sets forth Plaintiffs’ claims for declaratory relief and damages for

Defendants’ breach of the wage provisions of their employment contracts.




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      127.   Defendants offered employment on the terms and conditions set out in the Job Order

and Agricultural Contract Agreement as described in paragraphs 27-38.

      128.   Plaintiffs accepted Defendants’ offers.

      129.   Among the terms that Defendants offered and Plaintiffs accepted was a promise to

pay the applicable AEWR, as detailed in paragraphs 24(a), 27, 29, and 32-33, for each hour

worked.

      130.   The violations set forth in this Count resulted, in part, from Defendants’ failure to

reimburse expenses as detailed in paragraphs 41-53. These expenses brought Plaintiffs’ first

week earnings below the AEWR.

      131.   The violations set forth in this Count resulted, in part, from Defendants’ failure to

credit and pay Plaintiffs for all compensable time worked, as described in paragraphs 79-80 and

84.

      132.   The violations set forth in this Count also resulted, in part, from Defendants’

unreasonable deductions for Social Security and Medicare taxes, in violation of 20 C.F.R.

§ 655.122(p)(1), which further reduced Plaintiffs’ wages below the AEWR, as described in

paragraphs 81-84.

      133.   Defendants, therefore, breached their employment contract with Plaintiffs.

      134.   As a direct consequence of Defendants’ breach of contract, Plaintiffs suffered

economic injury.

      135.   Defendants are liable to Plaintiffs for the damages that arose naturally and according

to the usual course of things from Defendants’ breach, as provided by federal common law and

O.C.G.A. § 13-6-2, including unpaid wages and prejudgment interest.


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               COUNT VI: BREACH OF CONTRACT- OTHER PROVISIONS

   136.      Plaintiffs incorporate each of the allegations contained in the preceding paragraphs by

reference.

   137.      This Count sets forth Plaintiffs’ claims for declaratory relief and damages for

Defendants’ breach of their employment contracts.

   138.      Defendants offered employment on the terms and conditions set out in the Job Order

and Agricultural Contract Agreement as described in paragraphs 27-38.

   139.      Plaintiffs accepted Defendants’ offers.

   140.      Among the terms that Defendants offered and Plaintiffs accepted were promises to:

       (a) Provide Plaintiffs with a copy of the employment contract in “a language understood

             by the worker” at the time Plaintiffs applied for their H-2A visas.

             20 C.F.R. § 655.122(q).

       (b) Furnish to Plaintiffs on each pay period a written earning statement accurately

             showing the total earnings for the pay period, hourly rate and piece rate of pay, hours

             of employment offered, hours actually worked, itemization of all deductions from

             wages, the units produced each day, beginning and ending dates of the pay period,

             and the employer’s name, address, and federal employer identification number.

             20 C.F.R. § 655.122(k).

       (c) Provide housing with kitchen facilities that met local, state and federal requirements.

             20 C.F.R. § 655.122(d).

   141.      Defendants breached their employment contract with Plaintiffs by failing to provide

Plaintiffs with a complete copy of the employment contract in a language that they understood


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when they applied for their H-2A visas as required by 20 C.F.R. § 655.122(q), as they were not

given a complete copy of the Job Order and the Job Order was not completely and correctly

translated into Spanish.

   142.    Defendants also breached the employment contract by failing to provide Plaintiffs

with complete and regular earning statements containing the information required by the H-2A

regulations, 20 C.F.R. § 655.122(k).

   143.    Defendants breached the employment contract by failing to provide Plaintiffs with

housing that complied with Federal standards.

   144.    Defendants are liable to Plaintiffs for the damages that arose naturally and according

to the usual course of things from Defendants’ breach, as provided by federal common law and

O.C.G.A. § 13-6-2, including unpaid wages and prejudgment interest.

                                   PRAYER FOR RELIEF

WHEREFORE, Plaintiffs respectfully request that this Court grant the following relief:

   (a)     Declare that Defendants violated the FLSA as specified in Counts I and II;

   (b)     Declare that Defendants breached their employment contracts with Plaintiffs as

           specified in Counts III, IV, V, and VI;

   (c)     Grant judgment against Defendants, jointly and severally, in favor of each Plaintiff, in

           the amount of his respective unpaid and lost wages as proved at trial, plus an equal

           amount in liquidated damages, and compensatory damages, pursuant to 29 U.S.C. §

           216(b);

   (d)     Order such legal and equitable relief as may be appropriate to effectuate the purposes

           of 29 U.S.C. § 215(a)(3).


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   (e)    Grant judgment against Defendants, jointly and severally, in favor of each Plaintiff, in

          the amount of each Plaintiff’s damages as they arose naturally and according to the

          usual course of things from Defendants’ breach of contract and such as the parties

          contemplated, when the contract was made, as the probable result of such breach;

   (f)    Award Plaintiffs pre- and post-judgment interest as allowed by law;

   (g)    Award Plaintiffs attorneys’ fees and the costs of this action; and

   (h)    Award Plaintiffs such further relief, at law or in equity, as this Court deems just and

          proper.

This 10th day of January, 2018                      Respectfully submitted,

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                              CERTIFICATE OF SERVICE

   I HEREBY CERTIFY that on January 10, 2018 a true and correct copy of the foregoing

FIRST AMENDED COMPLAINT was electronically filed with the Clerk of the Court using the

CM/ECF system and sent via U.S. Mail, with adequate postage, to:

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                                                  /s/ Lauren Hoff-Downing
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